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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division


   In Re:                                               )
                                                        )
   MOHAMED A. EL RAFAEI                                 ) Case No. 20-12583 KHK
                                                        ) Chapter 11
         Debtor.                                        )
   _______________________________________


              CONSENT MOTION TO FURTHER EXTEND DEADLINE
         TO ASSUME OR REJECT COMMERCIAL REAL PROPERTY LEASE

            COMES NOW Mohamed A. El Rafaei, the Debtor and Debtor in Possession

   herein, and hereby files this Consent Motion to further extend the deadline to assume or

   reject commercial real property lease, and states as follows:

            1.     This proceeding was commenced by a voluntary chapter 11 petition, filed

   on November 23, 2020 (the “Petition Date”).

            2.     The Debtor is a debtor in possession. No trustee or creditors’ committee

   has been appointed in this case.

            3.     The Debtor’s meeting of creditors was held on December 9, 2020. No

   creditors participated in the meeting.

            4.     The Debtor is an individual resident of the Commonwealth of Virginia.




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            5.       The Debtor owns interests in and operates two businesses; namely, a

   interior design and construction consulting business and a restaurant business, Cafe

   Concepts, LLC.

            6.       Cafe Concepts, LLC was in the process of building out its leased space in

   early 2020 when the COVID pandemic began. The space is located at 7787 Leesburg

   Pike, Vienna, Virginia (the “Leased Premises”), and is leased by the Debtor and Mr.

   Rhanime1 from Adel Kebaish and MD/Tysons LLC (the “Landlord”), pursuant to a

   commercial real property lease, dated October 29, 2019 (the “Lease”). The pandemic,

   together with the Debtor’s financial difficulties, delayed the completion of the build-out

   and opening of the restaurant.

            7.       As a result of the delays in completing the buildout and opening of the

   restaurant and the Debtor’s financial difficulties, the Debtor was unable to pay the rent

   for a number of months in 2020, resulting in a significant rent arrearage. With the

   agreement of the Landlord, the Debtor and Café Concepts have made partial rent

   payments since the Debtor’s bankruptcy was filed.

            8.       The Debtor has been negotiating with the Landlord concerning lease

   arrearages and terms under which the Lease will be assumed. It is anticipated that the

   parties will agree to the repayment schedule of all of the arrearages, divided over a

   maximum period of 24-months, once the Lease is assumed and the restaurant opens.




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      There is a degree of ambiguity in the Lease in that the lessee is identified as “Mohamed Elrafaei & Anis
   Rhanime doing business as Cafe Concepts, LLC” and Mr. El Rafaei is identified as the personal guarantor
   of the Lease. Out of an abundance of caution, this Motion is being filed in the event the Debtor is deemed
   to be the lessee (or one of the lessees) under the Lease. This ambiguity will be resolved and the Lease
   clarified upon assumption of the Lease.

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          9.        The deadline to assume or reject the Lease was previously extended, by

   consent, to August 23, 2021. It was anticipated that the restraint buildout would be

   completed and the restaurant could open by that date. However, due to delays in

   permitting with Fairfax County, delays in construction materials and equipment, the

   buildout has not yet been completed. The Debtor now anticipates an additional 2 – 3

   months will be needed to complete construction and to obtain all of the final (occupancy)

   permits such that the restaurant can open.

          10.       The Debtor believes that he should wait to assume the Lease until the

   restaurant is ready to open.

          11.       By this Consent Motion, the Debtor seeks an additional 120 day extension

   of the deadline to assume the Lease, to December 23, 2021.

          12.       The Landlord is agreeable to the requested extension provided that the

   Debtor makes full monthly payments within the first 5 days of each month as was agreed

   upon in the Lease.

          13.       An extension of the deadline is justified under the circumstances of this

   case and in the best interest of the Debtor, his creditors and his estate.

          14.       Notice of this Consent Motion has been provided to all creditors and

   parties in interest on August 12, 2021.

               WHEREFORE, based upon the foregoing, the Debtor respectfully requests

   entry of an Order extending the deadline to assume or reject the commercial real property

   lease with Adel Kobeish and for such further relief as this Court deems just and proper.




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   Dated: August 12, 2021                        Respectfully submitted,

                                                 Mohamed A. El Rafaei

                                                 By Counsel



          /s/ Christopher L. Rogan
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   Agreed:

   Landlord:

          MD/Tysons LLC

          By: /s/ Adel Kebaish
            Adel Kebaish, Manager

          /s/ Adel Kebaish
          Adel Kebaish




                                CERTIFICATE OF SERVICE

           I hereby certify that, on this 12th day of August 2021, a true and accurate copy of
   the foregoing Motion was served, via ECF on all parties requesting notice and on the
   Office of US Trustee, via Email.

                                                          /s/ Christopher L. Rogan
                                                         Christopher L. Rogan, Esq.




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